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                                         IN THE UNITED STATES DISTRICT COURT
                                         FOR THE EASTERN DISTRICT OF VIRGINIA

       APPLICATION TO QUALIFY AS A FOREIGN ATTORNEY UNDER LOCAL CIVIL RULE 83.1(E) AND LOCAL
                                        CRIMINAL RULE 57.4(E)
                   In Case Number 1:24-cv-00143       , Case Name Ramon Espinosa v. Trans Union, LLC
                   Party Represented by Applicant: Trans Union, LLC


To: The Honorable Judges of the United States District Court for the Eastern District of Virginia

                                                       PERSONAL STATEMENT

FULL NAME (no initials, please) Samantha L. Southall
Bar Identification Number 80709                  State Pennsylvania
Firm Name Buchanan Ingersoll & Rooney PC
Firm Phone # 215-665-8700                    Direct Dial # 215-665-3884                            FAX # 215-665-8760
E-Mail Address   samantha.southall@bipc.com

Office Mailing Address Two Liberty Place, 50 S. 16th Street, 32nd Floor, Philadelphia, PA 19102

Name(s) of federal district court(s) in which I have been admitted EDMichigan, EDPA, WDPA, EDNY; SDNY, NDNY, WDNY

I certify that the rules of the federal court in the district in which I maintain my office extend a similar pro hac vice admission
privilege to members of the bar of the Eastern District of Virginia.

I have not been reprimanded in any court nor has there been any action in any court pertaining to my conduct or fitness as a
member of the bar.

I hereby certify that, within ninety (90) days before the submission of this application, I have read the Local Rules of this Court
and that my knowledge of the Federal Rules of Civil Procedure, the Federal Rules of Criminal Procedure, and the Federal Rules of
Evidence is current.

I am     am not     a full-time employee of the United States of America, and if so, request exemption from the admission fee.


                                                                                        (Applicant’s Signature)

I, the undersigned, do certify that I am a member of the bar of this Court, not related to the applicant; that I know the applicant
personally, that the said applicant possesses all of the qualifications required for admission to the bar of this Court; that I have
examined the applicant’s personal statement. I affirm that his/her personal and professional character and standing are good, and
petition the court to admit the applicant pro hac vice.

                                                                                                                  2/26/2024
                                                     (Signature)                                                  (Date)
                                                     Karima Tawfik                                                96541
                                                    (Typed or Printed Name)                                       (VA Bar Number)
Court Use Only:

Clerk’s Fee Paid      or Exemption Granted

The motion for admission is GRANTED             or DENIED




                          (Judge’s Signature)                                                     (Date)
